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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION
   __________________________________

   IN RE: AUTOMOTIVE PARTS
   ANTITRUST LITIGATION                                  MASTER FILE NO. 12-md-02311

                                                         HON. MARIANNE O. BATTANI
   __________________________________

   THIS DOCUMENT RELATES TO:

   ALL ACTIONS
   _________________________________/


                      NOTICE OF SEPTEMBER 26, 2018 STATUS
                   CONFERENCE AND REQUEST FOR AGENDA ITEMS

          A status conference for all Lead cases in MDL No. 12-02311 is scheduled for

   10:00 a.m., September 26, 2018, in Room 737. All Interim Liaison Counsel and at

   least one representative from each of the Interim Lead Counsel groups must be

   present, as well as counsel for other Plaintiffs having actions falling within this MDL.

   Each Defendant should be represented.

          Counsel should confer and submit to the Court discussion items to be

   incorporated into an Agenda for this status conference. In addition, Counsel must

   specify which motions, if any, they would like to argue following the status conference.

   Counsel must submit proposed Agenda items via email to Case Manager, Ka Myra

   Doaks, at efile_battani@mied.uscourts.gov, by 5:00 p.m., August 28, 2018. The Court

   will finalize the Agenda and file it electronically by September 7, 2018.



   Date: August 17, 2018                             s/Marianne O. Battani
                                                     MARIANNE O. BATTANI
                                                     United States District Judge
